4:06-cr-03102-RGK-DLP   Doc # 65   Filed: 01/23/07   Page 1 of 1 - Page ID # 183



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiffs,         )
                                    )                 4:06CR3102
          v.                        )
                                    )
ANDRANETTE FOSTER,                  )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     Defendant Foster’s motion, filing 62, to adopt the

supplemental brief of co-defendant Lathon Wider is granted.


     DATED this 23rd day of January, 2007.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
